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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CABLE NEWS NETWORK, INC. and ABILIO                        :
JAMES ACOSTA,                                              :
                                                           :       CIVIL ACTION
                                        Plaintiffs,        :
                                                           :
                           v.                              :       NO. 1:18-CV-02610-TJK
                                                           :
DONALD J. TRUMP, in his official capacity as               :
President of the United States; JOHN F. KELLY, in          :
his official capacity as Chief of Staff to the President   :
of the United States; WILLIAM SHINE, in his                :
official capacity as Deputy Chief of Staff to the          :
President of the United States; SARAH                      :
HUCKABEE SANDERS, in her official capacity as              :
Press Secretary to the President of the United States;     :
the UNITED STATES SECRET SERVICE;                          :
RANDOLPH ALLES, in his official capacity as                :
Director of the United States Secret Service; and          :
JOHN DOE, Secret Service Agent, in his official            :
Capacity,                                                  :
                                                           :
                                       Defendants          :

                         MOTION FOR ADMISSION PRO HAC VICE

               George A. Lehner of Pepper Hamilton LLP (the “Movant”) hereby moves this

Court, pursuant to Local Rule 83.2(d), for an Order permitting Amy B. Ginensky to appear pro

hac vice before this Court in the above captioned matter as additional counsel of record for

proposed amicus curiae White House Correspondents’ Association. In support of this motion,

Movant attaches the declaration of Amy B. Ginensky as Exhibit A and a proposed order.

Dated: November 19, 2018                              Respectfully submitted,

                                                      /s/ George A. Lehner
                                                      George A. Lehner (D.C. Bar. No. 281949)
                                                      PEPPER HAMILTON LLP
                                                      Hamilton Square
                                                      600 Fourteenth Street, N.W.
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                               Washington, D.C. 20005-2004
                               Phone: 202.220.1416
                               Fax: 202.220.1665
                               lehnerg@pepperlaw.com

                               Counsel for White House Correspondents’
                               Association
